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                       IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF PENNSYLVANIA
                               PITTSBURGH DIVISION

JAMES COLEMAN,                                  )
                                                )
                  Plaintiff,                    )
                                                )
                                                  CASE NO. 2:16-cv-00353-TFM
v.                                              )
                                                )
COMCAST CORPORATION,                            )
                                                )
                  Defendant.                    )


                                    STIPULATED ORDER

       On May 20, 2016, Defendant Comcast Corporation (“Defendant”) filed a Motion to

Compel Arbitration and Stay Litigation (ECF No. 8). Plaintiff James Coleman (“Plaintiff”) has

notified the Court that he has reviewed and agreed to the entry of an order granting the Motion.

Based on the stipulation of the parties and for other good cause shown,

       IT IS ORDERED that the Motion is GRANTED; and

       IT IS FURTHER ORDERED that Plaintiff is hereby compelled to comply with the

terms of his arbitration agreement; and

       IT IS FURTHER ORDERED that this action is STAYED in its entirety pending the

final conclusion of any individual arbitration between Plaintiff and Defendant.



                              26th day of _______________________,
       IT IS SO ORDERED this _____           May                   2016.



                                                      s/ Terrence F. McVerry
                                                    ____________________________________
                                                    HON. TERRENCE F. MCVERRY
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 APPROVED:


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